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    P err y L a w                                                                                                                                               E. D A N Y A P E R R Y
                                                                                                                                                                       2 1 2 -8 4 0 -7 9 3 9 P H O N E
                                                                                                                                                d p err y @ d a n y a p e rr yl a w. c o m E M AI L



                                                                                                                       D e c e m b er 8, 2 0 2 3
VI A E C F
T h e H o n or a bl e J ess e M. F ur m a n
U nit e d St at es Distri ct J u d g e
S o ut h er n Distri ct of N e w Y or k
4 0 F ol e y S q u ar e
N e w Y or k, N Y 1 0 0 0 7
             R e:         U nit e d St at es v. Mi c h a el C o h e n , 1 8 C r. 6 0 2 ( J M F)
D e ar J u d g e F ur m a n:
         I writ e o n b e h alf of Mi c h a el D. C o h e n i n f urt h er s u p p ort of his l ett er m oti o n f or t er mi n ati o n
of his S u p er vis e d R el e as e ( E C F D o c. N o. 8 8) (t h e “ M oti o n ”).
            B e gi n ni n g b ef or e h e pl e a d e d g uilt y a n d c o nti n ui n g t o t h e pr es e nt, Mr. C o h e n h as pr o vi d e d
si g nifi c a nt i nf or m ati o n t o a ut h oriti es i n c o n n e cti o n wit h n u m er o us g o v er n m e nt i n v esti g ati o ns.
Mr. C o h e n’s p u bli c c o n gr essi o n al t esti m o n y w as a pr e di c at e 1 f or t h e N e w Y or k St at e Att or n e y
G e n er al’s ci vil l a ws uit a g ai nst t h e Tr u m p Or g a ni z ati o n, f or m er Pr esi d e nt Tr u m p, a n d ot h ers, t h e
tri al of w hi c h is o n g oi n g. P e o pl e v. Tr u m p, et al. , I n d e x N o. 4 5 2 5 6 4/ 2 0 2 2 ( S u p. Ct. N. Y. C nt y.).
Mr. C o h e n’s p arti ci p ati o n i n t h es e m att ers h as c o m e at gr e at p ers o n al e x p e ns e a n d ris k as
Mr. C o h e n h as f a c e d d e at h t hr e ats, p u bli c s m e ari n g, a n d t h e n e e d t o r ais e f u n di n g t o o bt ai n
c o u ns el. Mr. C o h e n h as s uff er e d e xt e nsi v e r et ali ati o n b y Mr. Tr u m p a n d i nti mi d ati o n b y
Mr. Tr u m p’s cr o ni es a n d s u p p ort ers.2

            I n its o p p ositi o n t o Mr. C o h e n’s m oti o n ( E C F D o c. N o. 9 0) (t h e “ O p p ositi o n ”), t h e
G o v er n m e nt m a k es m u c h of Mr. C o h e n’s t esti m o n y o n cr oss e x a mi n ati o n a b o ut w h et h er h e “ li e d ”
t o J u d g e P a ul e y w h e n Mr. C o h e n st at e d d uri n g his pl e a all o c uti o n t h at h e w as g uilt y of t a x e v asi o n.
O p p. at 2 - 3. Mr. C o h e n ’s t esti m o n y (i n cl u di n g t h e G o v er n m e nt’s (s el e cti v e) q u ot es fr o m t h at
t esti m o n y) a ct u all y r efl e ct s o m et hi n g v er y diff er e nt fr o m w h at t h e G o v er n m e nt ar g u es. Mr. C o h e n
d o es n ot dis p ut e t h e u n d erl yi n g f a ct u al pr e di c at e of t h e t a x vi ol ati o n t o w hi c h h e pl e a d e d; r at h er —
j ust as h e h a d i n his s e nt e n ci n g s u b missi o n— h e l a b or e d (s o m e w h at cl u msil y) t o arti c ul at e his
b eli ef t h at s u c h c o n d u ct s h o ul d n ot h a v e b e e n t h e b as is f or a cri mi n al pr os e c uti o n. S e e E C F D o c .
N o. 8 8 -1, Tr. 2 1 8 8 : 1 6-2 0 ( “ B e c a us e t h er e w as n o t a x e v asi o n. At b est, it c o ul d b e c h ar a ct eri z e d as
a t a x o missi o n. ”). H is p ositi o n h as l o n g b e e n t h at, e v e n if his c o n d u ct di d c o nstit ut e a cri mi n al t a x
vi ol ati o n, his pr os e c uti o n w as a n o utli er a n d c h ar g es w o ul d n ot or di n aril y b e br o u g ht i n t h es e

1
   K ai a H u b b ar d, Tr u m p L as h es O ut at N e w Y or k Att or n e y G e n er al O v er L a ws uit , U. S. N e ws & W orl d R e p ort ( S e pt.
2 1,         2 0 2 3),        htt ps:// w w w. us n e ws. c o m/ n e ws/ n ati o n al -n e ws/ arti cl es/ 2 0 2 2 -0 9 -2 1/tr u m p -l as h es-o ut -at -n e w -y or k -
att or n e y -g e n er al -o v er -l a ws uit.
2
    T his r et ali ati o n i n cl u d es Mr. C o h e n’s u nl a wf ul r e m a n d fr o m h o m e r el e as e t o s olit ar y c o nfi n e m e nt, w hi c h t h e
H o n or a bl e Al vi n K. H ell erst ei n f o u n d t o b e u n c o nstit uti o n al a n d bl at a ntl y r et ali at or y . C o h e n v. B arr , N o. 2 0-c v -5 6 1 4,
2 0 2 0 W L 4 2 5 0 3 4 2, at * 1 ( S. D. N. Y. J ul y 2 3, 2 0 2 0). M or e r e c e ntl y, Mr. Tr u m p r es p o n d e d t o his i n di ct m e nt b y t h e
M a n h att a n Distri ct Att or n e y’s Offi c e ( w hi c h h a d s u b p o e n a e d Mr. C o h e n t o t estif y b ef or e t h e gr a n d j ur y) wit h a t orr e nt
of i n v e cti v e a n d a $ 5 0 0 milli o n l a ws uit a g ai nst Mr. C o h e n t h at c a us e d Mr. C o h e n t o i n c ur o v er a milli o n d oll ars i n
l e g al f e es b ef or e Mr. Tr u m p v ol u nt aril y dis miss e d it ei g ht m o nt hs l at er, o n t h e e v e of his o w n d e p ositi o n i n t h at m att er
( w hi c h h e h a d d es p er at el y, b ut u ns u c c essf ull y, f o u g ht h ar d t o a v oi d).


                                                        1 5 7 E a st 8 6 t h Str e et, 4t h Fl o or, N e w Y or k, N Y 1 0 0 2 8
                                      2 1 2 -2 1 3 -3 0 7 0 P H O N E | 6 4 6 -8 4 9 -9 6 0 9 F A X | w w w. d a n y a p err yl a w. c o m W E B SI T E
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T h e H o n. J ess e M. F ur m a n
D e c e m b er 8, 2 0 2 3


cir c u mst a n c es. S e e i d. Tr. 2 1 8 9: 3 -5 ( “ T h e t a x vi ol ati o ns as I’ v e st at e d m a n y ti m es s h o ul d n ot h a v e
b e e n br o u g ht i n a n d of its elf. ”).
           Mr. C o h e n a n d his c o u ns el h a v e c o nsist e ntl y t a ke n t his p ositi o n t hr o u g h o ut t his m att er. I n
his s e nt e n ci n g s u b missi o n ( E C F D o c. N o. 2 4), h e e x pl ai n e d t h at “littl e, if a n yt hi n g, s e p ar at es t h e
off e ns e c o n d u ct fr o m c o n d u ct t h at is r o uti n el y p urs u e d t hr o u g h n o n -cri mi n al e nf or c e m e nt. ” I d. at
1 3. S p e cifi c all y, Mr. C o h e n n ot e d t h at t h e off e ns e c o n d u ct l a c k e d t h e s o p histi c at e d m e a ns a n d
c o m pl e x s c h e m e s t y pi c all y pr es e nt i n cri mi n al t a x e v asi o n c h ar g es, cit e d n u m er o us i nst a n c es i n
w hi c h si mil ar c o n d u ct di d n ot r es ult i n cri mi n al c h ar g es, a n d p oi nt e d o ut t h at h e w as n ot gi v e n t h e
o p p ort u nit y t o b e h e ar d b y t h e T a x Di visi o n or ot h er wis e r es ol v e a n y t a x d efi ci e n ci es wit h o ut
cri mi n al c h ar g es . I d. at 1 3- 1 7. W hil e it is p er h a ps f air t o d es cri b e Mr. C o h e n’s t esti m o n y as p o orl y
w or d e d, it d o es n ot s h o w a n yt hi n g m or e or l ess t h a n w h at Mr. C o h e n al w a ys h as s ai d ( a n d w h at is
tr ul y n ot c o ntr o v ersi al): t h e t a x c o n d u ct t o w hi c h Mr. C o h e n ple a d e d g uilt y is r o uti n el y p urs u e d
n o n- cri mi n all y.
             F urt h er m or e, e v e n if t h e G o v er n m e nt’s mis c h ar a ct eri z ati o n of Mr. C o h e n’s t esti m o n y a n d
p u bli c st at e m e nts w er e c orr e ct , it w o ul d si m pl y m e a n t h at Mr. C o h e n, li k e c o u ntl ess ot h er
d ef e n d a nts b ef or e hi m a n d si n c e , f elt c o m p ell e d t o a gr e e t o a pl e a d e al u n d er s e v er e pr ess ur e. 3 As
Mr. C o h e n h as l o n g t ol d it, h e w as pr es e nt e d o n a Fri d a y e v e ni n g wit h a pl e a a gr e e m e nt t h at
i n cl u d e d a c h ar g e f or cri mi n al t a x e v asi o n; w as t ol d t h at t h e d e al w o ul d b e off t h e t a bl e if h e di d
n ot i m m e di at el y a c c e pt it; a n d w as w ar n e d t h at if h e di d n ot t a k e t h e d e al, t h e G o v er n m e nt i nt e n d e d
t o c h ar g e hi m ri g ht aft er t h e w e e k e n d i n a l e n gt h y i n di ct m e nt t h at w o ul d als o i n cl u d e c h ar g es
a g ai nst his wif e. Alt h o u g h Mr. C o h e n d o es n ot dis p ut e t h e f a cts of t h e off e ns e c o n d u ct t o w hi c h
h e pl e a d e d , h e f a c e d a H o bs o n’s c h oi c e : o n t h e o n e h a n d h e c o ul d a c c e pt a fl a w e d pl e a d e al t h at
i n cl u d e d a hi g hl y a g gr essi v e c h ar g e b ut t h at h e di d n ot b eli e v e w o ul d aff e ct his a d vis or y s e nt e n ci n g
g ui d eli n es r a n g e (s e e E C F D o c. N o. 2 4 at 2 2- 2 4) ; o n t h e ot h er, h e c o ul d f a c e a si g nifi c a ntl y hi g h er
s e nt e n c e aft er c o n vi cti o n f or cri m es h e k n e w h e h a d c o m mitt e d a n d f a c e t h e s p e ct er t h at his a d or e d
wif e als o w o ul d b e c h ar g e d . As Mr. C o h e n h as c o nsist e ntl y st at e d, h e “t o o k t h e pl e a ” (E C F D o c.
N o. 8 8 - 1, Tr . at 2 2 9 8: 2) d es pit e his r es er v ati o ns a n d mis gi vi n gs, i n or d er t o pr ot e ct his wif e a n d


3
   Alt h o u g h w e ar e n ot s u g g esti n g t e c h ni c al i n n o c e n c e, e v e n i n n o c e nt p e o pl e m a y pl e a d g uilt y. A m o n g m a n y ot h ers,
t h e H o n or a bl e J e d R a k off of t h e S o ut h er n Distri ct of N e w Y or k a n d t h e H o n or a bl e J o h n Gl e es o n, f or m erl y a j u d g e i n
t h e E ast er n Distri ct of N e w Y or k, h a v e writt e n criti c all y a b o ut t his iss u e at l e n gt h, i n cl u di n g i n j u di ci al o pi ni o ns. S e e,
e. g. , U nit e d St at es v. G ar ci a , 6 4 8 F. S u p p. 3 d 4 8 0, 4 8 4 ( S. D. N. Y. 2 0 2 2) ( R a k off, J.) (r ef erri n g t o “t h e gr o wi n g
e vi d e n c e t h at i n n o c e nt p ers o ns fr e q u e ntl y f a c e pr ess ur e t o pl e a d g uilt y b e c a us e of t h e h ars h p e n alti es t h e y f a c e if t h e y
g o t o tri al a n d ar e c o n vi ct e d ”); U nit e d St at es v. K u p a , 9 7 6 F. S u p p. 2 d 4 1 7, 4 5 0 ( E. D. N. Y. 2 0 1 3) ( Gl e es o n, J.)
( dis c ussi n g t h e c o er ci v e eff e ct of t h e “tri al p e n alt y ” a n d n oti n g t h at “[ w] h e n g uilt y pl e a dis c o u nts ar e t h at dr a m ati c
a n d t h at c ert ai n, s o m e i n n o c e nt p e o pl e will pl e a d g uilt y ”) . J u d g e Gl e es o n h as els e w h er e n ot e d t h at “ pr os e c ut ors c a n
m a k e pl e a off ers o n a n all -or -n ot hi n g b asis, c o nfi d e nt t h at d ef e n d a nts will a c c e pt a n y t er ms t o a v oi d a n e x c essi v e
s e nt e n c e. ” N at’l Ass’ n of Cri m . D ef . L a w y ers , T h e Tri al P e n alt y: T h e Si xt h A m e n d m e nt Ri g ht t o Tri al o n t h e V er g e
of E xti n cti o n a n d H o w t o S a v e It ( 2 0 1 8), at 2 8. J u d g e R a k off h as e x pl ai n e d t h at a pl e a a gr e e m e nt “is m u c h m or e li k e
a ‘ c o ntr a ct of a d h esi o n’ i n w hi c h o n e p art y c a n eff e cti v el y f or c e its will o n t h e ot h er p art y. ” H o n. J e d R a k off. W h y
I n n o c e nt        P e o pl e       Pl e a d      G uilt y.         T he       Ne w         Y or k        R e vi e w     of        B o o ks      ( 2 0 1 4),        at       5,
htt ps:// w w w. n y b o o ks. c o m/ arti cl es/ 2 0 1 4/ 1 1/ 2 0/ w h y -i n n o c e nt-p e o pl e -pl e a d -g uilt y/ . T h us, “ a d ef e n d a nt’s d e cisi o n t o
pl e a d g uilt y t o a cri m e h e di d n ot c o m mit m a y r e pr es e nt a ‘r ati o n al,’ if c y ni c al, c ost -b e n efit a n al ysis of his sit u ati o n . ”
I d. at 6. S t u di es h a v e s h o w n t h at a p pr o xi m at el y t e n p er c e nt of p e o pl e w h o w er e l at er e x o n er at e d h a d pl e a d e d g uilt y
e v e n t h o u g h t h e y di d n ot i n f a ct c o m mit t h os e cri m es. S e e i d. at 7; U. Mi c h. L a w S c h o ol, N at’l R e gistr y of
E x o n er ati o ns,                 I n n o c e nts               Who                Pl e a d               G uilt y            ( 2 0 1 5),               at               1-3,
htt ps:// w w w.l a w. u mi c h. e d u/s p e ci al/ e x o n er ati o n/ D o c u m e nts/ N R E. G uilt y. Pl e a. Arti cl e 1. p df .


                                                                                       2
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T h e H o n. J ess e M. F ur m a n
D e c e m b er 8, 2 0 2 3


f a mil y. 4 Mr. C o h e n’s p l e a t o an a g gr essi v e c h ar g e u n d er e xtr e m e pr ess ur e is n ot hi n g u n us u al,
tr a gi c all y.
            Mr. C o h e n is n ot as ki n g f or e xtr a or di n ar y c o nsi d er ati o n : i n d e e d, n u m er o us5 c o urts i n t his
Distri ct h a v e gr a nt e d e arl y t er mi n ati o n of s u p er vis e d r el e as e i n cir c u mst a n c es si mil ar t o
Mr. C o h e n’s, n a m el y, his e x c ell e nt c o m pli a n c e wit h all c o n diti o ns of s u p er vis e d r el e as e,
r e p a y m e nt of his o utst a n di n g o bli g ati o ns, l a c k of a n y n e g ati v e c o nt a cts wit h l a w e nf or c e m e nt, t h e
n o n vi ol e nt n at ur e of his off e ns e a n d his l o w ris k of r e ci di vis m, a n d his r e h a bilit ati v e eff orts
i n cl u di n g his p arti ci p ati o n i n tr ai ni n g a n d ot h er b e n efi ci al pr o gr a m mi n g w hil e i n B O P c ust o d y.
S e e, e. g. , U nit e d St at es v. J o h ns o n , N o. 1: 2 1-cr - 0 0 1 9 4-L A K ( S. D. N. Y. S e pt. 9, 2 0 2 3); U nit e d
St at es v. Pi n a , N o. 1: 2 2-cr - 0 0 0 2 7-V S B ( S. D. N. Y. J ul y 1 7, 2 0 2 3); U nit e d St at es v. B et a n c o urt , N o.
1: 1 0- cr - 0 0 9 0 5-L T S ( S. D. N. Y. M a y 1 9, 2 0 2 3) ; U nit e d St at es v. S a n g ar a y , N o. 1: 2 2-cr - 0 0 0 3 8 7-
K P F, ( S. D. N. Y. S e pt. 1 6, 2 0 2 2); U nit e d St at es v. K a psis , N o. 0 6-cr - 8 2 7, 2 0 1 3 W L 1 6 3 2 8 0 8, at * 1
( S. D. N. Y. A pr. 1 6, 2 0 1 3); U nit e d St at es v. R e nt as , 5 7 3 F. S u p p. 2 d 8 0 1, 8 0 2 ( S. D. N. Y. 2 0 0 8); s e e
als o U nit e d St at es v. W al k er , N o. 1 4-cr - 3 0 5, 2 0 2 3 W L 3 0 7 6 5 4 8, at * 1-2 ( D. Mi n n. A pr. 2 5, 2 0 2 3)
(t er mi n ati n g s u p er vis e d r el e as e of d ef e n d a nt c o n vi ct e d of t a x e v asi o n).6
           N e arl y o n e f ull y e ar a g o, t his C o urt f o u n d t h at t h e q u esti o n of e arl y t er mi n ati o n w as a
“ cl os e ” o n e, b ut it d ef err e d t h e q u esti o n wit h o ut pr ej u di c e t o a l at er r e n e w al. (E C F D o c. N o. 8 3 at
4). Mr. C o h e n pl e a d e d g uilt y t o a n d w as s e nt e n c e d f or n o n vi ol e nt cri m es; h as u n dis p ut e dl y
c o m pli e d wit h all t h e t er ms of his r el e as e; h as t h e s u p p ort of his pr o b ati o n offi c er; h as m et all of
his fi n a n ci al o bli g ati o ns, i n cl u di n g t h os e t o t h e C o urt; a n d h as c o nti n u e d t o pr o vi d e assist a n c e wit h
v ari o us g o v er n m e nt i n v esti g ati o ns, at gr e at fi n a n ci al a n d ps y c hi c c ost. W e r es p e ctf ull y s u b mit t h at
t his q u esti o n n o l o n g er is cl os e, a n d w e as k t h at Mr. C o h e n’s s u p er vis e d r el e as e b e t er mi n at e d.
             T h a n k y o u f or Y o ur H o n or’s c o nsi d er ati o n of t his r e q u est.
                                                                                                        R es p e ctf ull y s u b mitt e d,



                                                                                                        E. D a n y a P err y
c c:         All c o u ns el of r e c or d




4
    MJ L e e, Mi c h a el C o h e n is r esi g n e d t o g oi n g t o pris o n t o pr ot e ct his f a mil y , C N N ( A u g. 2 9, 2 0 1 8),
htt ps:// w w w. c n n. c o m/ 2 0 1 8/ 0 8/ 2 9/ p oliti cs/ mi c h a el -c o h e n -is-r esi g n e d-t o-g oi n g -t o-pris o n -t o-pr ot e ct -his -f a mil y.
5
   I n d e e d, i n a s a m pl e st u d y i n t h e S o ut h er n Distri ct of N e w Y or k of d ef e n d a nts w h os e s u p er vis e d r el e as e h a d
t er mi n at e d, 4 4 % w er e gr a nt e d e arl y t er mi n ati o n. S e e E x hi bit A, Ri c h ar d M. B er m a n, C o urt I n v ol v e d S u p er vis e d
R el e as e U p d at e , U. S. D e p’t of J usti c e ( A pr. 1 9, 2 0 2 2) vi a E C F.
6
   Su c h r uli n gs r ar el y r es ult i n r e p ort e d d e cisi o ns. W hil e s e v er al c as es w er e cit e d i n t h e i niti al M oti o n fil e d b y diff er e nt
c o u ns el ( E C F D o c. N o. 8 8 at 3), un d ersi g n e d c o u ns el w as n ot e n g a g e d at t h at ti m e a n d m ust i nf or m t h e C o urt t h at it
h as b e e n u n a bl e t o v erif y t h os e cit ati o ns.


                                                                                   3
